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                                                             EXHIBIT D
                                                       INVESTMENT ACCOUNTS


                Investment Bank   Account Name                        Account No. Ending    Approx. Account Balance
                PNC Bank, N.A.    Consolidated Investment Fund               0695                 $31,134,298
                PNC Bank, N.A.    Cash Management Fund                       2199                  $4,955,723
                PNC Bank, N.A.    Health Plan Trust                          6955                 $18,174,245
                PNC Bank, N.A.    Archbishop Borders Testimonial             5426                  $4,246,871
                PNC Bank, N.A.    General Insurance Program                  8672                 $42,374,849
                PNC Bank, N.A.    Misconduct Fund - Custody                  3159                  $2,087,251
                PNC Bank, N.A.    Unrestricted Remitted - Sterling           8972                  $8,992,214
                PNC Bank, N.A.    Property Funds - Sterling                  8964                  $2,069,025
                PNC Bank, N.A.    Lay Employees Retirement Plan              4605                $183,943,962
                PNC Bank, N.A.    Priest’s Pension Fund                      4710                 $36,032,713
                PNC Bank, N.A.    Priest’s Post Retirement                   3175                 $13,506,460




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